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 9                             UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
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   In re Ex Parte Application of                  Case No.: 3:18-mc-80132-JSC
13 PALANTIR TECHNOLOGIES INC.,
                                                  ORDER DENYING MARC L.
14         Applicant,                             ABRAMOWITZ’S MOTION FOR
                                                  RELIEF FROM NONDISPOSITIVE
15 For an Order Pursuant to 28 U.S.C. § 1782 to   PRETRIAL ORDER OF MAGISTRATE
   Obtain Discovery from MARC L.                  JUDGE
16 ABRAMOWITZ for Use in Foreign
   Proceedings.
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     ORDER                                                      CASE NO.: 3:18-mc-80132-JSC
         Case 3:18-mc-80132-JSC Document 72 Filed 12/17/19 Page 2 of 2



 1                                               ORDER
 2         Having considered Marc L. Abramowitz’s Motion, as well as all supporting papers and
 3 related matters, IT IS HEREBY ORDERED:

 4         Marc L. Abramowitz’s Motion for Relief from Nondispositive Pretrial Order is DENIED.
 5 The court finds that Magistrate Judge Corley's Order Granting 28 U.S.C. § 1782 Application (Dkt.

 6 66) and its related protective order (Dkt. 67) is neither clearly erroneous nor contrary to law. Fed.

 7 R. Civ. Pro. 72(a).

 8           IT IS SO ORDERED.
 9        Dated: December 17, 2019                        /s/ Phyllis J. Hamilton__________
                                                          United States District Court Judge
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     ORDER                                                              CASE NO.: 3:18-mc-80132-JSC
